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  1   RYAN W. STITT
      California State Bar No. 273651
  2   FEDERAL DEFENDERS OF SAN DIEGO, INC.
      225 Broadway, Suite 900
  3   San Diego, California 92101-5030
      Telephone: (619) 234-8467
  4   Facsimile: (619) 687-2666
      Ryan_Stitt@fd.org
  5
      Attorneys for Defendant
  6   GUSTAVO LAZCANO-NERIA
  7
                           UNITED STATES DISTRICT COURT
  8
                         SOUTHERN DISTRICT OF CALIFORNIA
  9
 10
      UNITED STATES OF AMERICA,                CASE NO.: 20MJ4538-AHG
 11
                         Plaintiff,            Hon. Allison H. Goddard
 12                                            Courtroom 3B
            v.                                 Date: October 29, 2020
 13                                            Time: 2:30 p.m.
      GUSTAVO LAZCANO-NERIA,
 14                                            JOINT MOTION TO INCOPORATE
                         Defendant.            PRIOR BRIEFING AND ORDER FROM
 15                                            THE COURT
 16
 17   I.    Statement of facts
 18         Based on discovery provided by the government, Border Patrol Agent Ryan
 19   Courtney was patrolling the countryside in the Chula Vista Border Patrol Station’s
 20   area of operation. At approximately 2:40 a.m., Agent Courtney received a radio call
 21   directing him to intercept a group of suspected undocumented people. He
 22   responded to the area along with Agent Palacios and approached the group. Agent
 23   Courtney announced his presence and one of the nine suspects fled about ten yards
 24   before falling.
 25         Agent Courtney placed the suspect under arrest and later learned that his
 26   name was Gustavo Lazcano-Neria. Agent Courtney then questioned Mr. Lazcano
 27   as to his citizenship and nationality. Agent Courtney reports that Mr. Lazcano said
 28   that he was a citizen of Mexico who was illegally in the United States.
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  1          Discovery provided by the government further shows that Mr. Lazcano made
  2   a post-arrest statement, but counsel has not been able to review the substance of the
  3   statement yet given the fact that it is in Spanish.
  4   II.    Mr. Lazcano’s motions
  5          Mr. Lazcano wishes to raise a series of legal challenges to the charge and
  6   elements of the offense. These challenges have been raised and denied by this Court
  7   in other cases. See e.g., United States v. Morales-Roblero, 19MJ24442-AHG, Dkt.
  8   No. 45 (S.D. Cal. Sept. 14, 2020). Mr. Lazcano and the government jointly move
  9   to incorporate their respective briefs and argument in the Morales-Roblero case that
 10   resulted in the above cited order from the Court. Specifically, Mr. Morales:
 11              Moves to dismiss the charges because § 1325 violates the non-
 12                 delegation doctrine;
 13              Moves to dismiss the charges because § 1325 is void for vagueness;
 14              Moves to dismiss the charges because § 1325 “Streamline” court
 15                 violates equal protection;
 16              Moves to dismiss the charges because § 1325 is unconstitutional
 17                 following the Morales-Santana decision;
 18              Moves to dismiss the charges because the charging document fails to
 19                 allege that Mr. Lazcano knew he was undocumented as required after
 20                 Rehaif;
 21              And, finally, Mr. Lazcano moves to dismiss the charges based on
 22                 Village of Arlington Heights because of the racist origins of § 1325.
 23   III.   Conclusion
 24          Mr. Lazcano and the government jointly move to incorporate their briefing
 25   from Morales-Roblero’s case. Further, Mr. Lazcano has not yet been able to review
 26   the Spanish language post-arrest statement, and he wishes to reserve his right to
 27   challenge that statement at trial, should legal basis to challenge it arise through is
 28   review of the statement.
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                                    DISCOVERY STATUS REPORT
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                                        Respectfully submitted,
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  3
       Dated: October 26, 2020          s/ Ryan W. Stitt
  4                                     Federal Defenders of San Diego, Inc.
                                        Attorneys for Defendant
  5                                     GUSTAVO LAZCANO-NERIA
                                        Email: Ryan_Stitt@fd.org
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  7
  8    Dated: October 26, 2020          s/ Paul E. Benjamin
                                        Assistant United States Attorney
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                                 DISCOVERY STATUS REPORT
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  1
  2                 CERTIFICATE OF AUTHORIZATION TO SIGN
                           ELECTRONIC SIGNATURE
  3
  4   Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies
  5   and Procedures of the United States District Court for the Southern District of
  6   California, I certify that the content of this document is acceptable to counsel for
  7   the Plaintiff and that I have obtained authorization from AUSA Paul E. Benjamin
  8   to affix his electronic signature to this document.
  9
      s/ Ryan W. Stitt
 10   Ryan W. Stitt
 11   Federal Defenders of San Diego, Inc.
      Email: Ryan_Stitt@fd.org
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